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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF WISCONSIN


In re:                                                           Case No. 20-11957-gmh

ENGINEERED PROPULSION SYSTEMS, INC.,                             Chapter 11

                                  Debtor.


                          MOTION TO APPEAR PRO HAC VICE



               Daniel A. Lowenthal of Patterson Belknap Webb & Tyler LLP respectfully

requests that this Court grant admission pro hac vice in the above-captioned case. I certify that I

am an attorney in good standing licensed to practice in New York, and I have been admitted to

the United States Courts of Appeal for the Second and Third Circuits and the United States

District Courts and Bankruptcy Courts for the Southern, Eastern, and Northern Districts of New

York.


                                              Respectfully submitted,

Dated: June 23, 2021                          PATTERSON BELKNAP WEBB & TYLER LLP
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